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is

 

 

Mark Holscher (S.B.N. 139582)
mark. holscher@kirkland.com
Amanda Weinert (S.B.N. 229388)
amanda. weiner@kirkland.com
Beth Marie Weinstein (S.B.N. 252334)
beth.weinstein@kirkland.com
KIRKLAND & ELLIS LLP

333 South Hope Street

Los Angeles, California 90071
Telephone: 213 680-8400
Facsimile: 213 680-8500

Attorneys for Defendant Raytheon Company

Karen E. Ford (S.B.N. 88358)
karen@fordslaw.com

FORD & ASSOCIATES, LLC

PO Box 287 oo,
Carmel-by-the-Sea, California 93921
Telephone: 831 250-6433
Facsimile: 831 250-6844

Attorney for Plaintiff Herbert I. Hanson

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

HERBERT I. HANSON, y Case No. SACV 13-00896 DOC (JPRx)
)
Plaintiff, ) STIPULATION FOR DISMISSAL
) WITH PREJUDICE
VS. )
) Judge: Hon. David O. Carter
RAYTHEON COMPANY, )
Defendant.
)
)
)
)

 

 
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i Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Herbert I.

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Hanson and Defendant Raytheon Company, which constitutes all parties who have

3. || appeared in this action, hereby stipulate :o dismissal of this action with prejudice.'
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Herbert {. Hanson

& ||DATED: / /[ D2, / - 2014 FORD & ASSOCIATES, LLC
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Karen E. Ford

 

 

 

Lh Attorney for Plaintiff Herbert Hanson

le Karen E. Ford (S.B.N. 88358)

1 karen@fordslaw.com

14 FORD & ASSOCIATES, LLC

i PO Box 287 .

. Carmel-by-the-Sea, California 93921

15 Telephone: 831 250-6433

16 Facsimile: 831 250-6844

7

[8 DATED: 7/23/14 2014 KIRKLAND & ELLIS LLP

19 —_——

20 Mark Holscher

4 Attorney for Defendant Raytheon Company

22 Mark Helscher (S.B.N. 139582)
mark.holscher@kirkland.com

33 Amanda Weiner (S.B.N. 229388)
amanda. weiner@kirkland.com .

oe Beth Marie Weinstein (S.B.N. 252334)
beth. weinstein@kirkland.com

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.. ||} The dismissal is effective upon filing. See Fed. R. Civ. P. Cay ii); Garber
at v. Chicago Merchantile Exch., 570 F3d 1361, 1366 (Fed. Cir. 2009); McCall-Bey
v, Franzen, 777 F.2d 1178, 1185 (7th Cir, 1985),

 

 

 
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KIRKLAND & ELLIS LLP
333 South Hope Street

Los Angeles, California 90071
Telephone: (213) 680-8400
Facsimile: (213) 680-8500

Local Rule 5-4,3.4 Attestation:
I attest that Plaintiff's counsel, Karen E. Ford, concurs in this filing’s content

and has authorized the filing.

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DATED: 1/92. , 2014 By: ~5é 4
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